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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

ANTHONY OVEIDE,

       Plaintiff,

v.                                                                       No. 20-cv-0976 RB-SMV

CENTRAL NEW MEXICO CORRECTIONAL FACILITY,

       Defendant.

                    ORDER GRANTING IN FORMA PAUPERIS RELIEF

       THIS MATTER is before the Court on Plaintiff’s Motion to Proceed in Forma Pauperis

[Doc. 4], filed on November 4, 2020. Plaintiff’s financial information reflects he is unable to

prepay the $400 filing fee for his prisoner civil rights complaint. The Court will therefore grant

the Motion, which reduces the fee to $350, and allow Plaintiff to pay in installments. See 28 U.S.C.

§ 1915(b). Plaintiff must make an initial partial payment of “20 percent of the greater of—(A) the

average monthly deposits to the prisoner’s account; or (B) the average monthly balance in the

prisoner’s account for the 6-month period immediately preceding the filing of the complaint.” Id.

       Plaintiff’s financial statement reflects his average deposits exceed the balance, and that he

receives an average of $115.98 per month. The Court will assess an initial payment of $23.20

(which is 20% of the average deposits, $115.98) pursuant to § 1915(b)(1)(A). After payment of

the initial partial fee, Plaintiff is “required to make monthly payments of 20 percent of the

preceding month’s income credited to the prisoner’s account.” 28 U.S.C. § 1915(b)(2). The Court

will generally not review the merits of Plaintiff’s civil rights complaint unless the initial partial

payment is paid or excused. If Plaintiff fails to timely make the initial partial payment, his
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complaint will be dismissed without further notice.

       IT IS THEREFORE ORDERED that Plaintiff’s Motion for Leave to Proceed in Forma

Pauperis [Doc. 4] is GRANTED;

       IT IS FURTHER ORDERED that, no later than December 11, 2020, Plaintiff send to

the Clerk an initial partial payment of $23.20;

       IT IS FURTHER ORDERED that the Clerk provide Plaintiff with two copies of this

order, and that Plaintiff make the necessary arrangements to attach one copy of this order to the

check in the amount of the initial partial payment;

       IT IS FINALLY ORDERED that, after payment of the initial partial fee, Plaintiff make

monthly payments of 20% of the preceding month’s income credited to his account or show cause

why the designated payments should be excused.

       IT IS SO ORDERED.



                                                      ____________________________________
                                                      STEPHAN M. VIDMAR
                                                      United States Magistrate Judge




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